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£5. MiSTRICT COURT
UNITED STATES DISTRICT COURT {er hict oF MAIHE

 

DISTRICT OF MAINE PORTLAND
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UNITED STATES OF AMERICA ) Ba MAR 2
) Criminal No. 2:21-cr- 000 3% - JDL
“ HEPUTY GLERK
NICHOLAS MITCHELL )

PRAECIPE FOR WARRANT

The United States requests that the Clerk of the Court issue a warrant, an indictment

against the above-named defendant having been filed in the above-entitled case.

(eh

Dated: March 24, 2021

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aniel Perry 7

Assistant U.S. Attorney
